     Case 3:17-cr-00155-L Document 759 Filed 03/05/24                            Page 1 of 2 PageID 6088



                               IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

UNITED STATES OF AMERICA                                    §
                                                            §
v.                                                          §             Criminal Case 3:17-CR-155-L
                                                            §
JAMSHID NORYIAN (01)                                        §

                                                       ORDER

           Before the court is the Psychiatric Report as to Defendant Jamshid Noryian (“Report”)

(Doc. 753), filed February 22, 2024. Pursuant to 18 U.S.C. § 4241(c), the court sets this matter for

a hearing to determine whether Defendant Noryian is competent to stand trial. The competency

hearing shall take place on Thursday, April 25, 2024, at 10:00 a.m. The court directs the

Government to subpoena the Forensic Psychologist at The Federal Medical Center, Fort Worth

(“FMC”), Dr. Leticia Armstrong, to testify at this hearing regarding findings in the Report.

           The court also orders the parties to submit briefing that states their respective position on

Defendant Noryian’s competency to stand trial. The parties’ briefs are due on or before

Thursday, April 4, 2024, and responses are due within 10 days of the date the opposing party

files its brief. The briefs shall not exceed 15 pages, and the responses shall not exceed 5 pages.

The parties may not file a reply without leave of court. In addition, the parties are required to file

a joint report by Thursday, April 18, 2024. This report shall include an exhibit list, proposed

exhibits indicating whether they are agreed to, a proposed witness list, and a summary* of each

witnesses’ proposed testimony.




*
    A summary means more than just stating the subject matter or topic on which a witness will testify.


Order – Page 1
  Case 3:17-cr-00155-L Document 759 Filed 03/05/24           Page 2 of 2 PageID 6089



       It is so ordered this 5th day of March, 2024.


                                                   _________________________________
                                                   Sam A. Lindsay
                                                   United States District Judge




Order – Page 2
